          Case 1:21-cr-00123-PLF Document 112-1 Filed 01/18/23 Page 1 of 1



                                    FEDERAL PUBLIC DEFENDER
                                       DISTRICT OF COLUMBIA
                                              SUITE 550
                                      625 INDIANA AVENUE, N.W.
                                      WASHINGTON, D.C. 20004

A. J. KRAMER                                                                TELEPHONE (202) 208-7500
Federal Public Defender                                                           FAX (202) 208-7515



                                          January 6, 2023


Karen Rochlin
Barry K. Disney
Adam Dreher
Assistant United States Attorneys
555 Fourth Street, N.W.
Washington, D.C. 20530

By Email


         Re: United States v. Vitali GossJankowski, 21-cr-123 (PLF)


Dear Counsel:

         Pursuant to Federal Rule of Criminal Procedure 16(b)(1)(C), we write to notify you that
at the trial in the above referenced matter, we may seek to call Dr. Judy Shephard-Kegl as an
expert regarding Deaf communication, speech, and lipreading. Dr. Shepard-Kegl’s opinions and
the bases for those opinions are contained in the enclosed report. Her CV and a list of cases in
which she has testified are also enclosed.

       We also may seek to call Dr. Mark Kroll as an expert regarding electrical devices and
weapons. Dr. Kroll’s opinions and the bases for those opinions are contained in the enclosed
report. His CV and case list are also enclosed.

         If you have any questions, or need additional information, please let us know.


                                                      Sincerely,

                                                      Ubong Akpan
                                                      Celia Geotzl

Enclosures
